     CASE 0:19-cv-00083-DWF-TNL Document 24 Filed 03/17/20 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

Allen Peterson,                             )   Civil No. 0:19-cv-83
                                            )
                           Plaintiff,       )   Judge: Donovan W. Frank
                                            )
             v.                             )   Magistrate: Tony N. Leung
                                            )
SMG, a Pennsylvania General                 )
Partnership, Metropolitan Sports            )
Facilities Authority, and Hansen Bros.      )
Fence, Inc.,                                )
                                            )
                           Defendants.      )

                           STIPULATION TO CANCEL
                          SETTLEMENT CONFERENCE

      COME NOW the parties and stipulate to cancel the settlement conference

that is presently set for March 31, 2020, in the above-captioned matter. The parties

agree that the plaintiff is in an at-risk group of persons in regard to the ongoing

COVID-19 pandemic and that the defendants’ representatives may be subject to

corporate or legal restrictions on travel or attendance at court functions. The parties

will, in lieu of the court-sponsored settlement conference, schedule a private

mediation of this matter at least 3 months in advance of trial.

      In the event the Court wishes to proceed with the settlement conference, the

parties jointly request that the Court either (1) reschedule it to a later date or (2)

allow all party representatives to be excused from personal attendance provided

that they are available to be reached by telephone by their respective counsel at all

times during the settlement conference.

(Remainder of page intentionally left blank.)
CASE 0:19-cv-00083-DWF-TNL Document 24 Filed 03/17/20 Page 2 of 2
                   Peterson v. SMG et al., 0:19-cv-83
              Stipulation to Cancel Settlement Conference
 Dated this 17th day of March, 2020.


                                        /s/ Ariston E. Johnson
                                       Ariston E. Johnson, MN Bar #0389485
                                       ari@dakotalawdogs.com
                                       Johnson & Sundeen
                                       P.O. Box 1260
                                       Watford City, ND 58854
                                       (701) 444-2211
                                       Attorney for Plaintiff

 Dated this 17th day of March, 2020.

                                       MEAGHER & GEER, P.L.L.P.

                                        /s/ John C. Hughes
                                       John C. Hughes (#185929)
                                       33 South Sixth Street, Suite 4400
                                       Minneapolis, MN 55402
                                       jhughes@meagher.com
                                       (612) 338-0661

                                       Attorneys for Defendants SMG and
                                       Metropolitan Sports Facilities
                                       Authority

 Dated this 17th day of March, 2020.

                                       GREGERSON, ROSOW, JOHNSON &
                                       NILAN, LTD


                                        /s/ Joseph A. Nilan
                                       Joseph A. Nilan, #121277
                                       Jacob T. Merkel, #0397211
                                       100 Washington Ave. South, Ste. 1550
                                       Minneapolis, MN 55401
                                       (612) 338-0755
                                       jnilan@grjn.com
                                       jmerkel@grjn.com

                                       Attorneys for Defendant Hansen Bros.
                                       Fence, Inc.


                                   2
